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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2022

UNITED STATES OF AMERICA : CRIMINALN O. 21-¢r-380-CKK
v. : VIOLATIONS:
A -
BRIAN JEFFREY RAYMOND, : 180U.8.C.§ 2241() and 7(9)
: (Aggravated Sexual Abuse)
Defendant. « . : 18 U.S.C. § 2242(2), and 7(9)

(Sexual Abuse) ~

18 U.S.C. §§ 2244(a)(1) and 7(9)
(Abusive Sexual Contact)

18 U.S.C. § 2244(a)(2) and 7(9)
(Abusive Sexual Contact)

18 U.S.C. § 2422(a)

(Coercion and Enticement)

18 U.S.C. .§ 1462(a),

(Transportation of Obscene Material)
18 US. C. § 1462(a) and 7(9)
(Transportation of Obscene, Material)

FORFEITURE:

18 U.S.C. §§ 2428 and 1467
21 U.S.C. § 853(p)

28 U.S.C. § 2461(c)

INDICTMENT

The Grand Jury charges that:

GENERAL ALLEGATIONS

l. Defendant BRIAN JEFFREY RAYMOND (“RAYMOND”) is a United States

citizen.

2. From on or about August 21, 2018, until on or about. June 1, 2020, RAYMOND was

a United States government employee, working at the United States Embassy in Mexico City,
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Mexico. During that time, RAYMOND resided in an apartment in Mexico City, Mexico, assigned
to him by the United States government. RAYMOND’s residence in Mexico City, Mexico, was
leased by the United States government for use by Embassy personnel assigned to diplomatic,
consular, military, and other United States missions in Mexico City, Mexico. This residence falls
within the Special Maritime and Territorial Jurisdiction of the United States, pursuant to Title 18,
United States Code, Section 7(9).

3. In or around December 2013, RAYMOND was a United States government
employee working at the United States Embassy in Country 6. During that time, RAYMOND
resided in an apartment in Country 6 assigned to him by the United States government.
RAYMOND ’s residence in Country 6 was leased by the United States government for use by
Embassy personnel assigned to diplomatic, consular, military, and other United States missions in
Country 6. This residence falls within the Special Maritime and Territorial Jurisdiction of the United
States, pursuant to Title 18, United States Code, Section 7(9). :

4, The conduct alleged in Counts One through Fourteen and Counts Eighteen through
Twenty-Five began and occurred in Mexico City, Mexico, and in ‘Country 6, outside of the
jurisdiction of any particular State or district, and within the venue of the United States District Court
for the District of Columbia, as provided by Title 18, United States Code, Section 3238,

5. The conduct alleged in Counts Fifteen through Seventeen began, continued, and were
completed within the District of Columbia, and elsewhere, within the veriue of the United States
District Court for the District of Columbia, as provided by ‘Title 18, United States Code, Section

3237.
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COUNT ONE

The general allegations are incorporated herein by reference.

On or about May 31, 2020, in Mexico City, Mexico, within the Special Maritime and
Territorial Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMOND,
attempted to and did knowingly engage in a sexual act with another person, Victim 1, whose true
identity is known to the Grand Jury, who was at the time incapable of appraising the nature of the
conduct, and physically incapable of declining participation in, and communicating unwillingness
to engage in, the sexual act. The sexual act involved contact between RAYMOND?’s penis and
Victim 1’s vulva.

(Sexual Abuse, in violation of Title 18, United States Code, Sections 2242(2) and 7(9))

COUNT TWO

The general allegations are incorporated herein by reference.

Between on or about March 25, 2020, and on or about March 26, 2020, in Mexico City,
Mexico, within the Special Maritime and Territorial Jurisdiction of the United States, the defendant,
BRIAN JEFFREY RAYMOND, attempted to and did knowingly render another person, Victim 9,
whose true identity is known to the Grand Jury, unconscious and attempted to and did knowingly
administer to another person, Victim 9, without the knowledge or permission of Victim 9, a drug,
intoxicant, and other similar substance and thereby substantially impaired the ability of Victim 9 to
appraise and control the conduct, and thereby attempted to and did engage in a sexual act with Victim

9. The sexual act involved contact between RAYMOND’s penis and Victim 9’s vulva.

(Aggravated Sexual Abuse, in violation of Title 18, United States Code, Sections 2241(b)
and 7(9))
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COUNT THREE

The general allegations are incorporated herein by reference.

Between on or about March 25, 2020, and on or about March 26, 2020, in Mexico City,
Mexico, within the Special Maritime and Territorial Jurisdiction of the United States, the defendant,
BRIAN JEFFREY RAYMOND, attempted to and did knowingly engage in a sexual act with
another person, Victim 9, whose true identity is known to the Grand Jury, who was at the time
incapable of appraising the nature of the conduct, and physically incapable of declining participation
in, and communicating unwillingness to engage in, the sexual act. The sexual act involved contact
between RAYMOND ’s penis and Victim 9’s vulva.

(Sexual Abuse, in violation of Title 18, United States Code, Sections 2242(2) and 7(9))

COUNT FOUR

The general allegations are incorporated herein by reference.

Between on or about March 25, 2020, and on or about March 26, 2020, in Mexico City,
Mexico, within the Special Maritime and Territorial Jurisdiction of the United States, the defendant,
BRIAN JEFFREY RAYMOND, attempted to and did knowingly ponder another person, Victim 9,
whose true identity is known to the Grand Jury, unconscious and attempted to and did knowingly
administer to another person, Victim 9, without the knowledge or permission of Victim 9, a drug,
intoxicant, and other similar substance and thereby substantially impaired the ability of Victim 9 to
appraise and control the conduct, and thereby attempted to and did knowingly engage in and cause
sexual contact with and by Victim 9. The sexual contact involved the intentional touching of Victim
9’s breast and buttocks with an intent to abuse, humiliate, harass, degrade, and arouse and gratify

the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, ame States Code, Sections 2244(a)(1)
and 7(9))
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COUNT FIVE

The general allegations are incorporated herein by reference.

Between on or about March 25, 2020, and on or about March 26, 2020, in Mexico City,
Mexico, within the Special Maritime and Territorial Jurisdiction of the United States, the defendant,
BRIAN JEFFREY RAYMOND, attempted to and did knowingly engage in and cause sexual
contact with and by another person, Victim 9, whose true identity is iowa to the Grand Jury, who
was at the time incapable of appraising the nature of the conduct, and physically incapable of
declining participation in, and communicating unwillingness to engage in, the sexual contact. The
sexual contact involved the intentional touching of Victim 9’s breast and buttocks with an intent to
abuse, humiliate, harass, degrade, and arouse and gratify the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(2)
and 7(9))

COUNT SIX

The general allegations are incorporated herein by reference.

Between on or about May 30, 2020, and on or about May 31, 2020, in Mexico City, Mexico
within the Special Maritime and Territorial Jurisdiction of the United States, the defendant, BRIAN
JEFFREY RAYMOND, attempted to and did knowingly render another person, Victim 7, whose
true identity is known to the Grand Jury, unconscious and attempted to and did knowingly administer
to another person, Victim 7, without the knowledge or permission of Victim 7, a drug, intoxicant,
and other similar substance and thereby substantially impaired the ability of Victim 7 to appraise
and control the conduct, and thereby attempted to and did knowingly engage in and cause sexual
contact with and by Victim 7. The sexual contact involved RAYMOND intentionally causing his
inner thigh to touch another person, Victim 7, with an intent to abuse, humiliate, harass, degrade,

and arouse and gratify the sexual desire of any person.
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(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(1)
and 7(9))

COUNT SEVEN

The general allegations are incorporated herein by reference.

Between on or about May 30, 2020 and on or about May 31, 2020, in Mexico City, Mexico,
within the Special Maritime and Territorial Jurisdiction of the United States, the defendant, BRIAN
JEFFREY RAYMOND, attempted to and did knowingly engage in and cause sexual contact with
and by another person, Victim 7, whose true identity is known to the Grand Jury, who was at the
time incapable of appraising the nature of the conduct, and physically incapable of declining
participation in, and communicating unwillingness to engage in, the sexual contact. The sexual
contact involved RAYMOND intentionally causing his inner thigh to touch another person, Victim
7, with an intent to abuse, humiliate, harass, degrade, and arouse and gratify the sexual desire of any

person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(2)
and 7(9))

COUNT EIGHT

The general allegations are incorporated herein by reference.

On or about June 23, 2019, in Mexico City, Mexico, within the Special Maritime and
Territorial Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMOND,
attempted to and did knowingly render another person, Victim 6, whose true identity is known to
the Grand Jury, unconscious and attempted to and did knowingly administer to another person,
Victim 6, without the knowledge or permission of Victim 6, a drug, intoxicant, and other similar
substance and thereby substantially impaired the ability of Victim 6 to appraise and control the

conduct, and thereby attempted to and did knowingly engage in and cause sexual contact with and
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by Victim 6. The sexual contact involved RAYMOND intentionally causing Victim 6 to touch her
own breast and genitalia with an intent to abuse, humiliate, harass, degrade, and arouse and gratify
the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(1)
and 7(9))

COUNT NINE

The general allegations are incorporated herein by reference.

On or about June 23, 2019, in Mexico City, Mexico, within the Special Maritime and
Territorial Jurisdiction of the United States; the defendant, BRIAN JEFFREY RAYMOND,
attempted to and did knowingly engage in and cause sexual contact with and by another person,
Victim 6, whose true identity is known to the Grand Jury, who was at the time incapable of
appraising the nature of the conduct, and physically incapable of declining participation in, and
communicating unwillingness to engage in, the sexual contact. The sexual contact involved
RAYMOND intentionally causing Victim 6 to touch her own breast and genitalia with an intent to
abuse, humiliate, harass, degrade, and arouse and gratify the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(2)
and 7(9))

COUNT TEN

The general allegations are incorporated herein by reference.

On or about May 17, 2019, in Mexico City, Mexico, within the Special Maritime and
Territorial Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMOND,
attempted to and did knowingly render another person, Victim 5, whose true identity is known to
the Grand Jury, unconscious and attempted to and did knowingly administer to another person,

Victim 5, without the knowledge or permission of Victim 5, a drug, intoxicant, and other similar
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substance and thereby substantially impaired the ability of Victim 5 to appraise and control the
conduct, and thereby attempted to and did knowingly engage in and cause sexual contact with and
by Victim 5. The sexual contact involved the intentional touching of Victim 5’s breast with an intent
to abuse, humiliate, harass, degrade, and arouse and gratify the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(1)
and 7(9))

COUNT ELEVEN

The general allegations are incorporated herein by reference.

On or about May 17, 2019, in Mexico City, Mexico, within the Special Maritime and
Territorial Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMOND,
attempted to and did knowingly engage in and cause sexual contact with and by another person,
Victim 5, whose true identity is known to the Grand Jury, who was at the time incapable of
appraising the nature of the conduct, and physically incapable of declining participation in, and
communicating unwillingness to engage in, the sexual mnie: The sexual contact involved the
intentional touching of Victim 5’s breast with an intent to abuse, humiliate, harass, degrade, and
arouse and gratify the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(2)
and 7(9))

COUNT TWELVE

The general allegations are incorporated herein by reference.

On or about February 8, 2019, in Mexico City, Mexico, within the Special Maritime and
Territorial Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMOND,
attempted to and did knowingly engage in and cause sexual contact with and by another person,

Victim 26, whose true identity is known to the Grand Jury, who was at the time incapable of
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appraising the nature of the conduct, and physically incapable of declining participation in, and
communicating unwillingness to engage in, the sexual contact. The sexual contact involved the
intentional touching of Victim 26’s breast with an intent to abuse, humiliate, harass, degrade, and
arouse and gratify the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(2)
and 7(9))

COUNT THIRTEEN

The general allegations are incorporated herein by reference.

On or about December 8, 2013, in Country 6, within the Special Maritime and Territorial
Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMON D, attempted to and
did knowingly render another person, Victim 23, whose true identity is known to the Grand Jury,
unconscious and attempted to and did knowingly administer to another person, Victim 23, without
the knowledge or permission of Victim 23, a drug, intoxicant, and other similar substance and
thereby substantially impaired the ability of Victim 23 to appraise and control the conduct, and
thereby attempted to and did knowingly engage in and cause sexual contact with and by Victim 23.
The sexual contact involved RAYMOND intentionally causing Victim 23 to touch her own breast
with an intent to abuse, humiliate, harass, degrade, and arouse and gratify the sexual desire of any

person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(1)
and 7(9))

COUNT FOURTEEN

The general allegations are incorporated herein by reference.
On or about December 8, 2013, in Country 6, within the Special Maritime and Territorial

Jurisdiction of the United States, the defendant, BRIAN JEFFREY RAYMOND, attempted to and
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did knowingly engage in and cause sexual contact with and by another person, Victim 23, whose
true identity is known to the Grand Jury, who was at the time incapable of appraising the nature of
the conduct, and physically incapable of declining participation in, and communicating
unwillingness to engage in, the sexual contact. The sexual contact involved RAYMOND
intentionally causing Victim 23 to touch her own breast with an intent to abuse, humiliate, harass,
degrade, and arouse and gratify the sexual desire of any person.

(Abusive Sexual Contact, in violation of Title 18, United States Code, Sections 2244(a)(2)
and 7(9))

COUNT FIFTEEN

The general allegations are incorporated herein by reference.

Between on or about April 6, 2017, and on or about April 10, 2017, in the District of
Columbia and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, attempted to and did
knowingly persuade, induce, and entice any individual, Victim 15, whose true identity is known to
the Grand Jury, to travel in interstate and foreign commerce to engage in any sexual activity for
which any person could be charged with a criminal offense.

(Coercion and Enticement to Travel, in violation of Title 18, United States Code, Section
2422(a))

COUNT SIXTEEN

The general allegations are incorporated herein by reference.

Between on or about April 5, 2017, and on or about May 15, 2017, in the District of Columbia
and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, attempted to and did knowingly
persuade, induce, and entice any individual, Victim 4, whose true identity is known to the Grand
Jury, to travel in interstate and foreign commerce to engage in any sexual activity for which any

person could be charged with a criminal offense.

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(Coercion and Enticement to Travel, in violation of Title 18, United States Code, Section
2422(a))

COUNT SEVENTEEN

The general allegations are incorporated herein by reference.

Between on or about November 2, 2015, and on or about November 7, 2015, in the District
of Columbia and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, attempted to and did
knowingly persuade, induce, and entice any individual, Victim 17, whose true identity is known to
the Grand Jury, to travel in interstate and foreign commerce to engage in any sexual activity for
which any person could be charged with a criminal offense.

(Coercion and Enticement to Travel, in violation of Title 18, United States Code, Section
2422(a))

COUNT EIGHTEEN

The general allegations are incorporated herein by reference.

Between on or about May 30, 2020, and on or about June 1, 2020, in Mexico City, Mexico,
and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United States and
into any place subject to the jurisdiction thereof, and knowingly used a common carrier and
interactive computer service, for carriage in interstate and foreign commerce, any obscene matter
depicting Victim 7, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section
1462(a))

COUNT NINETEEN

The general allegations are incorporated herein by reference.
Between on or about March 27, 2020, and on or about June 1, 2020, in Mexico City, Mexico,
and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United States and

into any place subject to the jurisdiction thereof, and knowingly used a common carrier and

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interactive computer service, for carriage in interstate and foreign commerce, any obscene matter
depicting Victim 8, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section
1462(a))

COUNT TWENTY

The general allegations are incorporated herein by reference.

Between on or about March 25, 2020, and on or about June 1, 2020, in Mexico City, Mexico,
and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United States and
into any place subject to the jurisdiction thereof, and knowingly used a common carrier and
interactive computer service, for carriage in interstate and foreign commerce, any obscene matter
depicting Victim 9, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section
1462(a))

COUNT TWENTY-ONE

The general allegations are incorporated herein by reference.

Between on or about June 23, 2019, and on or about June 1, 2020, in Mexico City, Mexico,
and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United States and
into any place subject to the jurisdiction thereof, and knowingly used a common carrier and
interactive computer service, for carriage in interstate and foreign commerce, any obscene matter
depicting Victim 6, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section _
1462(a))

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COUNT TWENTY-TWO

The general allegations are incorporated herein by reference.

Between on or about May 17, 2019, and on or about June 1, 2020, in Mexico City, Mexico,
and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United States and
into any place subject to the jurisdiction thereof, and knowingly used a common carrier and
interactive computer service, for carriage in interstate and foreign commerce, any obscene matter
depicting Victim 5, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section
1462(a))

COUNT TWENTY-THREE

The general allegations are incorporated herein by reference.

Between on or about November 23, 2018, and on or about June 1, 2020, in Mexico City,
Mexico, and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United
States and into any place subject to the jurisdiction thereof, and knowingly used a common carrier
and interactive computer service, for carriage in interstate and foreign commerce, any obscene
matter depicting Victim 2, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section
1462(a))

COUNT TWENTY-FOUR

The general allegations are incorporated herein by reference.
Between on or about September 15, 2018, and on or about June 1, 2020, in Mexico City,
Mexico, and elsewhere, the defendant, BRIAN JEFFREY RAYMOND, brought into the United

States and into any place subject to the jurisdiction thereof, and knowingly used a common carrier

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and interactive computer service, for carriage in interstate and foreign commerce, any obscene
matter depicting Victim 12, whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Section
1462(a))

COUNT TWENTY-FIVE

The general allegations are incorporated herein by reference.

Between on or about August 2018, and on or about June 1, 2020, in Mexico City, Mexico,
within the Special Maritime and Territorial Jurisdiction of the United States and elsewhere, the
defendant, BRIAN JEFFREY RAYMOND, brought into the United States and into any place
subject to the jurisdiction thereof, and knowingly used a common carrier and interactive computer
service, for carriage in interstate and foreign commerce, any obscene matter depicting Victim 22,
whose true identity is known to the Grand Jury.

(Transportation of Obscene Material, in violation of Title 18, United States Code, Sections

1462(a) and (7)(9))

FORFEITURE ALLEGATIONS

The allegations contained in Counts Fifteen through Seventeen of this Indictment alleging
violations of Title 18, United States Code, Section 2422 are hereby realleged and incorporated by
reference for the purpose of alleging forfeitures pursuant to Title 18, United States Code, Section
2428. Upon conviction of the offense alleged in Counts Fifteen through Seventeen of this Indictment,
the defendant, BRIAN JEFFREY RAYMOND, shall forfeit to the United States (1) such person’s
interest in any property, real or personal, that was used or intended to be used to commit or to
facilitate the commission of such violation; and (2) any property, real or personal, constituting or
derived from any proceeds that such person obtained, directly or indirectly, as a result of such

violation, pursuant to Title 18, United States Code, Section 2428.

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The allegations contained in Counts Eighteen through Twenty-Five of this Indictment
alleging violations of Title 18, United States Code, Section 1462 are hereby realleged and
incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18, United States
Code, Section 1467. Upon conviction of the offenses alleged in Counts Eighteen through Twenty-
Five, the defendant, BRIAN JEFFREY RAYMOND, shall forfeit to the United States, (1) any
obscene material produced, transported, mailed, shipped, or received in violation of these offenses;
(2) any property, real or personal, constituting or traceable to gross profits or other proceeds obtained
from these offenses; and (3) any property, real or personal, used or intended to be used to commit or
to promote the commission of these offenses, pursuant to Title 18, United States Code, Section 1467.

The United States will also seck a forfeiture money judgment against the defendant in the
amount equal to the value of any property, real or personal, that constitutes, or is derived from, or is
traceable to the proceeds directly or indirectly from these offenses, and the gross proceeds of these
offenses, and any property traceable to such proceeds.

If any of the property described above, as a result of any act or omission

of the defendant{[s]:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
a has been commingled with other property which cannot be divided without

difficulty,

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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code, Section

2461(c).

A TRUE BILL:

FOREPERSON.

FP Vatthen YL rari, LOI.

Attorney of the United States in
and for the District-of Columbia.

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